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FOR THE WESTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION []5 JUF»§-B AH||=S`I

 

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GLEN BERNARD MANN, W,D. of Tr., nn ms

Petitioner,
VS.

No. 04"2486-D/P

RICKY BELL, Warden, Riverbend
MaXimum Security Institution,

Respondent.

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ORDER SETTING STATUS CONFERENCE
TO ESTABLISH SCHEDULING ORDER

 

Pursuant to this Court's Auqust 13, 2004 scheduling order, the
Petitioner‘ has filed his Amended Petition for Writ of Habeas
Corpus, Respondent has answered, and Petitioner has filed his reply
to the Respondent's answer. A review of the pleadings indicates
substantial factual disputes in this matter. Accordinqu, it is
now appropriate to establish a schedule for continued litigation in
this matter.

IT IS THEREFORE ORDERED, that counsel for both parties appear
before the Court for a status conference at 11:30 a.m. on July l,

2005.

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lT IS SO ORDERED this é day of June, 2005.

     

RNICE B. DONALD
NITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02486 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

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US DISTRICT COURT

